     Case 2:08-cr-00116-KJM-AC Document 702 Filed 05/04/15 Page 1 of 2


 1   BARRY L. MORRIS, State Bar No. 48368
     1220 Oakland Blvd., Suite 200
 2   Walnut Creek, California 94596
     Telephone: 925.934.1100
 3   Facsimile: 925.934-1122
 4   Attorney for Defendant
     CHARLES HEAD
 5

 6

 7
                              IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
                                         SACRAMENTO DIVISION
10

11
     UNITED STATES OF AMERICA,                          )   Case No. 2:08-CR-093-KJM
12                                                      )   Case No. 2:08-CR-116-KJM
                                 Plaintiff,             )
13                                                      )   APPLICATION TO EXONERATE
             vs.                                        )   BAIL AND ORDER
14                                                      )
                                                        )
15                                                      )
     CHARLES HEAD, et. al.                              )
16                                                      )
                                 Defendants.            )
17                                                      )
18

19           Defendant, CHARLES HEAD, by and through undersigned counsel, applies for
20   an order from this court exonerating the bail posted to secure his release in the above-
21   entitled cases. Defendant is making this application on the ground that the lien in favor
22   of the Clerk of Court on the real property posted to secure defendant’s release has not
23   been extinguished and remains a cloud on title.

24   Dated: April 30, 2015                           Respectfully submitted,
25

26
                                                        /s/ Barry L. Morris
                                                        BARRY L. MORRIS
27                                                      Attorney for Charles Head
28


     ____________________________________________________________________________________________________
     Application for Order to Exonerate Bail               1   Case Nos. 2:08-CR-093-KJM & 2:08-CR-116-KJM
     Case 2:08-cr-00116-KJM-AC Document 702 Filed 05/04/15 Page 2 of 2


 1                                                  ORDER
 2
             GOOD CAUSE having been shown, IT IS HEREBY ORDERED that the bail
 3
     posted in case number 2:08-CR-093-KJM and in case number 2:08-CR-116-KJM to
 4
     secure the defendant’s release is EXONERATED.
 5

 6   Dated: May 1, 2015

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


     ____________________________________________________________________________________________________
     Application for Order to Exonerate Bail               2   Case Nos. 2:08-CR-093-KJM & 2:08-CR-116-KJM
